Case 13-02031 Doci1-1 Filed 09/25/13 Entered 09/25/13 14:23:08

B104 (FORM 104) (08/07)

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ADVERSARY PROCEEDING COVER SHEET ADVERSARY PROCEEDING NUMBER
(Instructions on Reverse) (Court Use Only)
PLAINTIFFS DEFENDANTS

MOTA BROTHERS ASBESTOS, LLC

KBE BUILDING CORPORATION, and
MANAFORT BROTHERS INCORPORATE

D

 

ATTORNEYS (Firm Name, Address, and Telephone No.)

Jeffrey M. Sklarz, Convicer, Percy & Green, LLP
701 Hebron Ave., Glastonbury, CT 06033

ATTORNEYS (If Known)

 

PARTY (Check One Box Only)

ki Debtor oO U.S. Trustee/Bankruptcy Admin
Go Creditor co Other
Oo Trustee

 

PARTY (Check One Box Only)

0 Debtor O US. Trustee/Bankruptcy Admin
0 Creditor i Other
0 Trustee

 

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
11 USC 542(b) - Action for turnover of money due and owing.

 

NATURE OF-SUIT

(Number up to five (5) boxes starting with lead cause of action as 1; first alternative cause as 2, second alternative cause as 3, etc.)

 

FRBP 7001(1) — Recovery of Money/Property
11-Recovery of money/property - §542 turnover of property
C] 12-Recovery of money/property - §547 preference
CI 13-Recovery of money/property - §548 fraudulent transfer
LJ 14-Recovery of money/property - other

FRBP 7001(2) — Validity, Priority or Extent of Lien
CL 21-Validity, priority or extent of lien or other interest in property

FRBP 7001(3) — Approval of Sale of Property
31-Approval of sale of property of estate and of a co-owner - §363(h)

FRBP 7001(4) — Objection/Revocation of Discharge
C] 41-Objection / revocation of discharge ~ §727(c),(d),(e)

FRBP 7001(5) — Revocation of Confirmation
51-Revocation of confirmation

FRBP 7001(6) — Dischargeability
C 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
CO 62-Dischargeability - §523(a)(2), false pretenses, false representation,
actual fraud
C] 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny

(continued next column)

FRBP 7001(6) — Dischargeability (continued)

CJ 61-Dischargeability - §523(a)(5), domestic support

C] 68-Dischargeability - §523(a)(6), willful and malicious injury

CI 63-Dischargeability - §523(a)(8), student loan

CJ 64-Dischargeability ~ §523(a)(15), divorce or separation obligation
(other than domestic support)

C] 65-Dischargeability - other

FRBP 7001(7) — Injunctive Relief
71-Injunctive relief — imposition of stay
C 72-Injunctive relief — other

FRBP 7001(8) Subordination of Claim or Interest
81-Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
91-Declaratory judgment

FRBP 7001(10) Determination of Removed Action
01-Determination of removed claim or cause

Other
[] ss-SIPA Case — 15 U.S.C. §§78aaa et.seg.
02-Other (e.g. other actions that would have been brought in state court
if unrelated to bankruptcy case)

 

oO Check if this case involves a substantive issue of state law

O Check if this is asserted to be a class action under FRCP 23

 

a Check if a jury trial is demanded in complaint

 

Demand $ 276,895.26

 

 

Other Relief Sought

 

 
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BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

 

 

 

 

 

NAME OF DEBTOR BANKRUPTCY CASE NO.
MOTA BROTHERS ASBESTOS, LLC} 13-20035
DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE
Connecticut Hartford Dabrowski
RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF DEFENDANT ADVERSARY
PROCEEDING NO.

 

 

DISTRICT IN WHICH ADVERSARY IS PENDING

 

DIVISION OFFICE NAME OF JUDGE

 

 

SIGNATURE OF ATTORNEY (OR PLAINTIFF)

/S/ Jeffrey M. Sklarz

 

 

DATE

09/25/2013

PRINT NAME OF ATTORNEY (OR PLAINTIFF)

Jeffrey M. Sklarz

 

 

INSTRUCTIONS

The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary

proceeding.

A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding Cover |
Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case
Filing system (CM/ECF). (CM/ECF captures the information on Form 104 as part of the filing process.) When completed,
the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the information to
process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings

or other papers as required by law, the Bankruptcy Rules, or the

local rules of court. The cover sheet, which is largely self-

explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature, This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an

attorney, the plaintiff must sign.

 
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UNITED STATES BANKRUPTCY COURT

 

DISTRICT OF CONNECTICUT
HARTFORD DIVISION
In re: : CHAPTER 11
MOTA BROTHERS ASBESTOS, LLC : CASE NO: 13-20035 (ASD)
Debtor. .
MOTA BROTHERS ASBESTOS, LLC : ADV. PROC. NO.
Plaintiff . 13- (ASD)

Vv.

KBE BUILDING CORPORATION; and
MANAFORT BROTHERS INCORPORATED

Defendants : SEPTEMBER 25, 2013
ADVERSARY COMPLAINT FOR TURNOVER PURSUANT TO 11 U.S.C. 542(b)

Pursuant to 11 U.S.C. § 542(e), the debtor, Mota Brothers Asbestos, LLC as debtor and
debtor-in-possession, (hereafter “MOTA” or “Debtor”), hereby seek the turnover of monies and/or
property held by defendants, KBE Building Corporation (“KBE”) and Manafort Brothers
Incorporated (“Manafort”), for the turnover of payments that are currently due and owing. In
support hereof, the Debtor submits the following:

JURISDICTION AND INTRODUCTION

1. This Complaint initiates an adversary proceeding pursuant to 11 U.S.C §§ 541 and
542(b) (all statutory references herein are to the Bankruptcy Code unless otherwise stated).

2. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and 11 U.S.C. § 542(b). This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

1

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3. Venue of this adversary proceeding in the Bankruptcy Court is proper pursuant to
28 U.S.C. § 1409(a) because the Debtor’s case is pending in this district and division.
FACTS AND BACKGROUND

4, The plaintiff is the Debtor in the above-captioned case, a Connecticut limited
liability company with a principal place of business at 40 South Street, West Hartford, CT 06110.

5. KBE is a corporation registered to business in Connecticut with an address of 30
Batterson Park Road, Farmington, CT, 06032.

6. Manafort is a corporation registered to business in Connecticut with an address of
414 New Britain Avenue, Plainville, CT, 06062.

7. On January 8, 2013, (the "Petition Date"), the above-captioned Debtor filed a
voluntary petition for relief under Chapter 11 of the Bankruptcy Code, 11 U.S.C. §§ 101-1532
(the "Bankruptcy Code").

8. The Debtor is continuing in possession of its property and are operating and
managing their businesses, as Debtors-In-Possession, pursuant to §§ 1107 and 1108.

9. No trustee or committee has been appointed in this case.

10. MOTA has particular expertise in asbestos removal and remediation, providing
such services to companies and municipalities around Connecticut.

11. KBE and Manafort retained the Debtor to perform asbestos abatement and
removal services. Those jobs are now complete and all funds are due and payable. Neither KBE
nor Manafort contest the amounts due, but, rather are holding the payments on account of the

claims for unpaid wages made by former employees of the Debtor to the Connecticut Department

of Labor (““CT-DOL”).

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12. The CT-DOL has recently filed a proof of claim in the amount of $572,105.
(Claim #8.) The Debtor believes the wage claims are substantially overstated and is in the
process of assembling its response to the CT-DOL’s proof of claim.

13. As aresult of the CT-DOL investigation, the Debtor has been unable to collect
more than $250,000 of accounts receivable pending resolution of these claims. Currently, the
Debtor is owed $218,950.28 by KBE and $57,944.98 by Manafort. Receipt of these funds will
enable the Debtor pay all allowed priority wage claims.

14. Despite demand, both KBE and Manafort have failed and refused to turnover the
above monies.

15. Additionally, to allay any concerns that payment to the Debtor would leave either
KBE or Manafort liable to the CT-DOL, the Debtor has suggested either (a) payment by joint
check to the Debtor and the CT-DOL or (b) establishment of a special escrow account to hold
said monies for payment of allowed wage claims.

COUNT ONE: Turnover Pursuant to § 542(b) as to KBE

16. At all times mentioned herein, the sum of $218,950.28 was due and owing by
KBE to the Debtor.

17. Pursuant to § 542(b): “an entity that owes a debt that is property of the estate and
that is matured, payable on demand, or payable on order, shall pay such debt to, or on the order
of, the trustee, except to the extent that such debt may be offset under section 553 of this title

against a claim against the debtor.”

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18. By virtue of KBE’s non-payment, the Debtor is entitled to an order directing the
turnover and/or payment of the amount due by KBE to the Debtor.

COUNT TWO: Turnover Pursuant to § 542(b) as to Manafort

19. Paragraphs 1 through 15 of the Complaint are incorporated by reference as if fully
set forth herein.

20. At all times mentioned herein, the sum of $57,944.98 was due and owing by
Manafort to the Debtor.

21. Pursuant to § 542(b): “an entity that owes a debt that is property of the estate and
that is matured, payable on demand, or payable on order, shall pay such debt to, or on the order
of, the trustee, except to the extent that such debt may be offset under section 553 of this title
against a claim against the debtor.”

22. By virtue of Manafort’s non-payment, the Debtor is entitled to an order directing

the turnover and/or payment of the amount due by Manafort to the Debtor.

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WHEREFORE, the Debtor requests that this Court enter an Order:
1. For KBE to turnover $218,950.28 to the Debtor;

2. Manafort to turnover $57,944.98 to the Debtor;

3, For such other relief as may by just and equitable

THE DEBTOR:
MOTA BROTHERS ASBESTOS, LLC

By:  /s/Jeffrey M. Sklarz
Jeffrey M. Sklarz (ct20938)
CONVICER, PERCY & GREEN, LLP
701 Hebron Avenue
Glastonbury, CT 06033
Phone: (860) 657-9040
Fax: (860) 657-9039
jsklarz@convicerpercy.com

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